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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA


ELIANA SALZHAUER, individually               Case No. 1: l 9-cv-02709
and on behalf of all others similarly
situated,                                    U.S. District Judge Mark H. Cohen


             Plaintiff,


      vs.


THE COCA-COLA COMP ANY, and
F AIRLIFE, LLC,


             Defendants.



             [lJ          I I   ORDER GRANTING DEFENDANTS'
 MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF'S
                          CLASS ACTION COMPLAINT


      This cause is before the Court on Defendants The Coca-Cola Company and


fairlife, LLC's (collectively, "Defendants") Unopposed Motion for Extension of


Time to Respond to Plaintiffs Class Action Complaint ("Motion").                  Having


considered the Motion and for good cause shown, IT IS HEREBY ORDERED as


follows:


       I.    Defendants,    having   been   served   with   Plaintiff's   Class   Action


Complaint, shall file responsive pleadings to Plaintiffs Class Action Complaint no


later than 45 days after the decision by the Judicial Panel on Multidistrict Litigation
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regarding transfer and consolidation of this case and the other federal cases involving


the allegations set fo1ih in Plaintiffs Class Action Complaint.


      2.     If Coca-Cola or fairlife is obligated to file a responsive pleading in any


other federal case involving the allegations set forth in Plaintiff's Class Action


Complaint before that time, then that Defendant shall file a responsive pleading in


this case on the same day.


                               -6-
      so ORDERED, this       a day of July, 2019



                                       Honorable Mark H. Cohen
                                       United States District Judge




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